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                                  UNlTED STATES DISTRICT COURT FOR THE
                                      EASTERN DISTRICT OF VIRGINIA

                                                  Alexandria Division
    UNITED STATES OF AMERICA                                        )
                                                                    )
                        V,                                          )
                                                                    )        Criminal No. l:18-cr-089
    JERRY CHlJN SIDNG LEE,                                          )
                                                                    )
                                  Defendant.                        )


                                                          ORD:ER
               At issue in this Espionage Act' case are two multipnrt discovery reques(s made by the

    defendant Jerry Chun Shing Lee to which the governmenc has objected. 2 The matter has been

    fully briefed and argued and is now l'ipe for disposition. For the reasons stated herein,

    defendant's disco'Vecy requests must be denied with the exception that the government most

    immediateJy pl·oduce or en.tor into the Classified Information Procedures Act3 ("CIPA") process,

    pursuant to Rule 16, Fed. R. Crim. P., defendant's statements an<f co-conspirator statements

    admissible against defendant. 4


    August 20, 2018 Motion for Discovery


    l. The defendant seeks all previously undisclosed written, recorded, oral or observed statements

          made by tnc defendant and all co-conspirator statements admissible against the defendant,


    1
        18 U.S.C. § 792 et seq.
    2
     The government originally objecccd to tllree discovecy requests made by the defendant, but the defendant does not
    curtently seek a ruling on his Scpiemhcr l8, 2018 discovery letter because 1.lte government has represented thar it is
    in.the process ofresponcling to lhe ra&ues raised in the lcuor. See Unit6dStQ/tu v. lee, No. l:18-cr-089, ac •12 (B.D.
    Va. Nov. 2, 2018) (Oef.'s Reply).
    3
        18 U.S.C.App. 3 § I el seq,
    • The numbers by which tho d~ovcsy disputes ar~ idenCified below com1spond lo lhe numbers that the panics used
    to identify the diacovcry request~. Discovery requests that have been resolved by che panies are omirtod.




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          including notes, summal'ies or memoranda concerning such statements. The government's

          response that it will provide all discoverable statements made by the defendant and bis co-

          conspirators foJlowing the issuance of an order ruling on the government>s next CIPA filing

          is unsatisfactory because it allows undue delay. Accordingly, with the exceplion of

          statements that must go through the CIPA process, the government must immediately

          ptoduee, pursuant to Rule 16, Fed, R. Crim. P., defendant's statements and co-conspirator

          .statements that are admissible against defendant. 5

    2. The defendant seeks prompt notice of the govenunent•s intent to use at trial any co~

          conspirator statements attributable to the defendant Tbe government represents that it will

          provide such notice no later than fifteen calendar days bef01·e trial. The defendant's l'equest

          for earlier notice is obviated by the requirement that the government must disclose

          immediately all co-conspirator statements that are admissible against the defendant, with the

          exception of those that must go th.tough the CIPA process. As such, the request must be

          denied,

    4. The defendant objects to die government•s plan to provide by December 5, 2018 all audio

          and audio-visual recordings that contain Rule 16, Fed. R. Crirn. P., statements made by the

          defendant. The defendant seeks the immediate production of all such recording~. However,

          disc!osm-e of these recordings by December 5, 2018 is reasonable because the government is

          in the process of redacting irrelevant and nondiscoverable information contained in the

          recordings. As such, the defendant's request for immediate production of all audio and audio~

          visual. recordings must be denied, with the expectation that the govermnent will produce such

    5During oral argoment on Thursd~y, November 8, 2018, tlu, government wa& given until close of business on
    Tuesday, Noveinber 13, 201B to produce defendant's discovorablcstateru.ents and until close ofbusil\e$S on Friday,
    November 16, 2018 to prod\lce discoverabl<: co-conspirator sllttementa admissible against defendant. As these
    deadlines hQve now passed, the govemrncnr must produce all such srarements immediately. if it has not already done
    so.

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        recordings by December 5, 2018. AJJ.y redactions made to the recordings must be

        satisfactorily explained to the Court, ex parte if necessary.

     5. The defendanl seeks a description of (i) the location and format of all audio and audio-visual

        record1ngs and (ii) the participants involved in making such recordings. This request must be

        denied because the information sought is not discoverable under Rule 16, Fed. R. Crim. P.

     7. The defendant requests all previously undisclosed documents material to preparing his

        defense pursuant to Rule 16(a), Fed. R. Crim. P. This request is vague and excessively broad

        and must be denied as such, although it is denled with the expectation that the government

        will produce piomptly, or timely initiate the CIPA process for, all material that it possesses

        that is subject to discovery.

     9. The defendant requests all undisclosed documents and property sei2cd from the defendant,

        The government has offered to make arrangements with defense couns~ to review, and

        where app1'opriate return, any items seized fro.m tho. defendant at the time of his arrest. The

        defendant is dissatisfied with this response because his request was not limited to items

        seized at the time of his arrest but included the results of searches conducted pursuant to a

        FlSA warrant or other court-issued search warrant. However, material obtained using PISA

        wanants has gone through tho CIPA process and is not subject to discovery. and the

        gove1mnent has represented that no other court-issued search wanants were executed. Ste

        Uhited States v. Lee, No, 1 :18-cr-89 (E.D. Va. Oct. 22, 2018) (Protective Order).

        Accordingly, because the matei'ial seized by the government pursuant to FISA warrants is not

        discoverable and the govemment has offered to make arrangements with defense counsel to

        review, and where appro})liate return, the items seized at dofcndant's arrest, the discovery

        request must be denied.


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     10. The defendant has requested all infomtation, investigative reports and documents in the

        possession of the United States govemment or any agency, person or country operating on its

        behalf concerning the two unindicted co-conspirators mentioned in the Indictment, This

        request must be. denied as premature bccauso the government has represented that the

        material requested that is potentially su~ect to discovery will be included in the CIP A filing

        due December 6, 2018.

     11. The defendant similarly requests production of all information, investigative reports and

        documents in the possession of the United States government or any agency, person or

        country operating on its behalf c~ncem.ing\                   ~efendant's business associate.

        This request must also be denied as premature because the government has represented that

        aU potentially discoverable responsive material will be included in the ClP A filing due

        December 6, 2018.

     12. The defendant seeks production of Ms CIA personnel file,!




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                                  rzne
                                   government responded that it ha$ already provided discovery

       regarding defendant's agency pro.file and assignments
                                                                  '--------------
                                                 he defendant argues that this information is needed to

                                             ______________
        prove, inle,. alia, that defendant .__                                          __, did   not violate

        the law, by recording or retaining the notebooks alleged to be classified. The government has

        represented that it possesses no information that could be used to prove that defendant      D
                                                    did not violate the law, by recording or retaining

        these notebooks. Accordingly, the discovery request must be denied.




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                           13. The defendant similarly seeks disclosure ofhls ti-aining and agency experience, which the

                              government contends bas already been provided or is known to defendant j



                                                                                  (This request must also be denied j




                                                       I
                           14. The defendant seeks agency training materials and records describing the methods of covert

                              comrnwtlcatlon, surveillance detection and operational security in which defendant was

                              trained. This request must be denied because neither the Constitution nor the Rules of

                              Criminal Procedure entitle defendant to production of this information.

                           15. The defendant requests discovery of agency recOl'ds describing bis experience in

                              counter.intelligence techniques and opecations. This request too must be denied because

                              defendant has not esta.btishcd that he is entitled to production of this ioforroat.ion punuant to

                              either the Constitution or the Rules of Criminal Pl'Ocedure.

                           17, The defendant requests production of all doouments referring to the meeting between

                              defendant and the CIA officei· described in the f.ndictment's second ovett act. The

                              government has represented that it has already provided most of the requested documents and

                              that it will provide any outstanding documents, or ent.er the1n into _the CJPA process, by

                              December 5, 2018, As such, the defendant1s request must be denied as premature.

                           l 8. Tho defendant similarly requests production of all documents referring to subsequent

                              communications between the defendant and the CIA officer referred to in th.e Indictment's

                              second overt act. Because the government ha.s represented that it will produce any additional



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       conversations and emaik between the defendant and the CIA officer, or include them in a

       CIPA filing, by December 5, 2018, defendant•s request must be denied as premature.

    20. The defendant requests all records of actions taken by the FBI, CIA, NSA OJ.' any domestic or

       foreign agencies, or per.sons operating on their behalf, followilig defendant's initial rcpons to

       agency officials that he had beeii approached by members of the People's Republic of China

       ("PRC") intelligence services. Defendant's discovery request must be denied because

       defendant is n.ot entitled to records of all actions taken by the various intelligence agencies.

       Indeed, some of this information, addressed in th.e October 22, 2018 CIPA § 4 Otder, is

       nondiscoverable. See Unired States v. Lee, No. I: I 8-cr-89 (E,D, Va Oct. 22, 2018)

       (Protective Order). However, tb.e government has represented that it will provide any

       information po~essed by the various intelligence agencies that is subject to discovery under

       Rule 161 Fed. R Cdm. P.

    21. Th.e defendant requests· all classified cables he sent while employed by the CIA that relate to

       tbe Indictment's allegations. Although the government argues that the request is overbroad,

       lbe govemmcnt has provided defense counsel with redacted versions of the cables relating to

       the entries in defendant's notebooks. According to the govermnentJ the redactions were made

       to omit info.cmation unrelated to this case. The defendant objected to the redactions on the

       ground that they will prejudice the jury by suggesting that the cables contain national defense

       information, one of the ultimate issues in this case. The defendant also objected to the

       government's supposed constraint that only defense counsel, and not the defendant, may

       view the cables. The government has re_pre$ented that the defendant may view all cables that

       he sent and that lt does not plan to .introduce cables written by other individuals at trial. To

       ~gate the risk that the juzy will be prejudiced by the redactions in the cables sent by



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       defendant, the jury will be informed that the mere fact that the cables contain redactions does

       not mean that the cables contain national defense information. As such, the defendant's

       request must be denied because defendant has been provided redacted versions of the cables

       related to the entries in. his notebooks, Should defendant object to the cables' redactions, he

       may file a motion addressing the issue.

    23. The defendant seeks production of documents containing information provided by

       Confidential Witness # I to the CIAJ FBI, NSA and any government agency working on their

       behalf regarding Confidential Witness # l's interaction with the two persons referred to in

       the Indictment's seventeenth overt act. The government has i-epresented that it expects

       Confidential Witness # l to testify at trial Pursuant to the Discovery Order in this case, the

       government must provide all Jencks Act and Giglio material relating to Confidential Witness

       # I no later than ten (10) calendar days before trial. United Slates v. Lee, No. 1:18-cr-89, at

       *4 (E.D. Va. June 22, 2018) (Discovery Order), Accordingly, the.defendant's discovery

       request must be denied.

    24. Relatedly, the defendant seeks disclosure of Confidential Witness# 1's employment records,

       cable traffic and job assignments while employed by the CIA      ~I--~' Because the
       government has acknowledged its obligation to produce, .or initiate th.e CIPA process for, all

       dis<:overable material involving Confidential Witness# 1, the request must be denied at this

       time,

    25. The defendant requests all documents clemoostt-ating his access to information about

       Confidential Witness # 1's activities while with the ClA. This i:equest is vague and

       excessively broad and must be denied as such, The government mllst, however, produce all




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       discoverable becawie they may help-prove that disclosure of the information by defendant

       would not injure the United States or aid a foreign government. The government responds

       that the mete fact that infonn11tion. was previously known by PRC officials or the Chinese

       government does not preclude the possibility that the information is national defense

       information. Furchermore, the government represents that it is unaware of any authorized ·

       disclosures of the information or the public status of the infonnation. Accordingly, the

       request must be denied   as moot, although the government is reminded that it has an
       obligation to produce .Brady material

    34. Tho defendant requesls copies of all applications for search warrants, int6lcepts or other cowt

       orders authorizing SU1'1/eillance of the defendant. The government has represented that it

       already produced copies of discoverable court orders and that no criminal search warrants

       were executed. Additionally, materials related to FISA warrants are nondiscoverable

       pursuant to the October 22, 2018 CIPA § 4 Order. See United Slates v. !Ae, No. 1:18-cr-89

       (E.D. Va. Oct.22.2018) (Protective O.rder). As such, the request must be denied because tile

       government has produced all discoverable info1·.1natio.o. responsive to defendant's request.

    35. The defendant requests aH previously undisclosed documents regarding FTM International

       C:FTM"), FTM' s business activities and FTM' s business partners obtained pursuant to any

       Mutual Legal Assistance Trealy request or from any foreign or domestic bank, financial

       institution or taxing and licensing autb.ority that l'olatcs in any way to the Indictment's

       allegations. Although this request must be denied as vague and excessively broad, the

       govel'nrnent bas represented that it will ptoduce additional communications and ,:ecords

       regarding FTM by December 5, 2018.




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    36. Tb.e defendant seeks production of all previously undisclosed records acquired from any

       third-party providet of email accounts, telephone services or other means of communication.

       The go-vemmcnt has represented that it has provided 8ll such material that it is obligated to

       produce pursuant to Rule 16, Fed. R. Crim. P ., and thus the request must be denied as moot.

    39. The defendant seeks disclosure of (i) the date that all classified documents &st became

       classified, (ii) whc~cr the classification is original or de1ivative and (iii) the duration of the

       classification. This information js not discoverable under Rule 16. Fed. R. Crim. P., and thus

        defendant's request must be denied.

    40. Relatedly> the defendant seeks disclosure of the identities of the govomment officials who

        made the classification decision fol' all clasaified documents in this case. This information is

       not discoverable under Rule 16, Fed. R. Crim. P., and thus defendant's request must be

       denied.


    October 11, 2018 Discovery Letter

    The following discovery requests relate to tl:anscripts, provided to the defendant, of a two-day

    interviewwit~~---~~onducted~----------~

    1. The defendant requests the identily ofj~--~jinterviewers. The government has already

       provided the name of the FBI interviewer and, during oral argument on Novembei· 8, i018,

       t~preserued that it would comply with the Court's requirement that the second interviewer be

       ide.ntified by December 5, 2013. As such, the defendant's request must be denied as moot.

    3. The defendant seeks production ofan audiowvisual recording of the interview. The

       government represented that it possesses an audio recoxdmg and an audio-visual recording,

       both of which it intends lo provide to defendant by DecelXl.bcr S, 2018. As discUSS<:d above,
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        this deadline is reasonable because the government is in the process of redacting irrelevant

        and nondiscoverable information. As such, the defendant's request must be denied as moot,

        with the expectation that the govertttnent will produce such recordings by December s. 2018.

        Any l'edactions made to the recordings must be satisfactorily cx:plained to the Court, ex parte

        if necessary.

     4. · The defendant requests disclo$ure of the identities of all United States or foreign persons who

        were involved u1 obtaining information

                                                     owever, these persons' identities arc not

        discoverable pursuant to Rule 16, Fed. R. Crim. P,, and th.us defendant's request must be

        denied.

     5. The defendant seeks production of all record




                                                    The government has repl'esented that, although it

        has produced most information                          ·twill produce any documents regarding

                                                              by December S, 2018, Acco1·dingly, the

         request must be denied as moot.

     6. The defendant seeks discovery of records



        government has represented that it will disclose or initiate the CIPA process fo1· all such

        ruscoverable material •b}' December 5, 2018. As such, the defendant's request must be denied

        as moot.




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     7. The defendant seeks records of all infonnation provided by

                                                 that is not expressly reflected in the transcripts

        already produced. This requcst must be denied as excessively broad. However, the

        government must comply with its representation that it will produce, or include in its .

        Decembe1· 6, 2018 CIPA filing, all responsive information that it is obligated to produce to

        th~ defendant or submit to the Court pursuant to CIPA,

     8. The defendant seeks disclosure of all reparts of investigatioc=}ondllCted by the

        CIA. FBI or other governmental agencies involved in the investigation of this case. This

        request is excessively broad and thus must be denied. However, the government has

        acknowledged its obligation to produce1 or ente1· into the CIPA process, all Brady, Jencks Act

        and Giglio material.

     9. The defendant seeks production of all records tegardingObtained by the United

        States. ineluding□bank, telephone and email recoi:ds. This request must be deni~ as

        excessively broad. However, the government is reminded of its obligation. to produce

        promptly, or timely initiate the CIPA pl'Ocess for, all discoverable material, including Btady,

        Giglio and Jencks Act materi.al,

     11. The defendant requests disclosure of (i) the identities of all government officers. agents and

        employees involved in the decision not to anest or prosecute~ (ii) the reasons for

        that decisfon, This request too must be denied as excessively broad and calling for the

        production of material not subject to discovery under Rule 16, Fed. R. Crim. P.

     13. The defendant seeks pl'oduction of aJI documents signed or produced t,yj'-----'jbefore,

        during and after the interviews. This request must also be denied as excossively broad•
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        although the govemment has represented that it will produce, or enter into the CIPA prooess,

        additional information pro\'idcd/            /by December S, 2018.
     15. The dofend?llt ~eeks disclosure of the result of all forensic examinations perfol'med on

       LJcomputer(s~                          /and other electronic media. This request is excessively

        broad and thus muse be denied. However, the goverrunent has repl'esented that it wiJI provide

        any information 1-elating to forensic examinations that exists and is discoverable pursuant to

        Rule 16, Fed. R. Crim. P.

    16. The defendant req_uests production of all records of any planning sessions conducted by

        government officers, agents and employees prior toCJinterview. This 1·equest must be

        denied because the material sought is work product and not subject to discovery under Rule

        16, Fed. R. Ci:im. P.

    17. The defendant rCC{UCsts disclooure ofinformation about when classification tevi.ew began

        assessin~~--~fnterview and the reason(s) for the delay in pa·odudng transcripts of the

        inte1view to the defendant. The infornlation is not subject to discovory under Rule 16, Ped.

        R. Crim. P., and thus the request must be denied.

    18. The defendant seeks disclosure of all correspondence or communication of any soti: between

       O a n d the United States government between 2010 and the present. This request mUst

        be denied as excessively broad, althouib the government must disclose any communications

        or correspondence between the government and the defendant that is discoverable pursuant to

        Rule 16> Fed. R. Crim. P.

    19. Finally, the defendant requests production of all correspondence or communications of any

        son between the defendant and any alleged PRC Ministry of State Security agent derived




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        fro.rn information obtained fromj~-~'The government has represented that no such

        correspondence or communications exist. As such, the request must be denied as moot.

            AcCOX'dingly, and for good cause.

            It is hereby ORDERED that defendant's discovery req_uest.s dated August 20, 2018 and

     October 11, 2018 are GRANTED IN PART and DENIED IN:PART as indicated above.

            The Court Secutity Officer is du:ected to provide a copy of this Order to the govemment

     and the defendant.



     Alexandtia, Virginia
     December 4> 2018




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                                                T. S. Ellis, III
                                                United States o·




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